993 F.2d 229
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph SEAGLE, Plaintiff-Appellant,v.James G. MARTIN, Governor;  Aaron J. Johnson;  Joseph L.Hamilton;  Ernest Hughes;  Cecil Penland, Lieutenant;Yancey County;  Claude Ledford, Superintendent, YanceyCounty;  Troy R. Ledford, Lieutenant, McDowell CountyPrison;  Ray Brown, Superintendent, McDowell County PrisonUnit;  J. B. Condrey, Superintendent, McDowell County PrisonUnit, Defendants-Appellees.
    No. 93-6133.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 27, 1993
    
      Appeal from the United States District Court for the Western District of North Carolina, at Shelby.  Richard L. Voorhees, Chief District Judge.  (CA-92-156)
      Ralph Seagle, Appellant Pro Se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, North Carolina, for Appellees.
      W.D.N.C.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Ralph Seagle appeals the district court's order dismissing this action brought under 42 U.S.C. § 1983 (1988).  Plaintiff's case was referred to a magistrate judge pursuant to 28 U.S.C.s 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Plaintiff that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Plaintiff failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985);   United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);   see also Thomas v. Arn, 474 U.S. 140 (1985).  Plaintiff has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We deny Seagle's motion to stay and his motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    